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                               UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF MASSACHUSETTS
                                      WESTERN DIVISION

      In re: NEW ENGLAND LAND AND LUMBER CORPORA §                      Case No. 14-30687
                                                 §
                                                 §
   Debtor(s)                                     §
         CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
  REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

         Steven Weiss, chapter 7 trustee, submits this Final Account,
Certification that the Estate has been Fully Administered and Application to be Discharged.

         1) All funds on hand have been distributed in accordance with the Trustee's Final Report
and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee's control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

        2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
discharged without payment, and expenses of administration is provided below:


 Assets Abandoned: $3,795,200.00                      Assets Exempt: $0.00
 (without deducting any secured claims)
 Total Distribution to Claimants:$200,345.14         Claims Discharged
                                                     Without Payment: $1,263,299.12

 Total Expenses of Administration:$323,759.88


         3) Total gross receipts of $    524,105.02 (see Exhibit 1 ), minus funds paid to the debtor
 and third parties of $       0.00    (see Exhibit 2 ), yielded net receipts of $524,105.02
from the liquidation of the property of the estate, which was distributed as follows:




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                                        CLAIMS              CLAIMS             CLAIMS             CLAIMS
                                      SCHEDULED            ASSERTED           ALLOWED              PAID


 SECURED CLAIMS
 (from Exhibit 3)                       $2,300,645.16        $550,644.93        $158,261.21       $158,261.21

 PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                            0.00         258,859.63        258,859.63         258,859.63

   PRIOR CHAPTER
   ADMIN. FEES AND
   CHARGES (fromExhibit 5 )                      0.00          64,900.25          64,900.25         64,900.25
   PRIORITY UNSECURED
   CLAIMS (from Exhibit 6 )                      0.00               0.00               0.00                 0.00
 GENERAL UNSECURED
 CLAIMS (fromExhibit 7)                    253,204.14       1,261,881.19       1,178,278.91         42,083.93

                                        $2,553,849.30      $2,136,286.00      $1,660,300.00       $524,105.02
 TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 7 on July 07, 2014.
  The case was pending for 50 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 04/01/2020                 By: /s/Steven Weiss
                                        Trustee


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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                                                                 EXHIBITS TO
                                                               FINAL ACCOUNT



EXHIBIT 1 GROSS RECEIPTS

                                                                                          UNIFORM                                  $ AMOUNT
               DESCRIPTION
                                                                                         TRAN. CODE 1                              RECEIVED
     Deposit for 6.41 acre parcel                                                        1180-002                                     5,000.00

     Deposit for sale of real estate in Sturbridge, H                                    1180-002                                     5,000.00

     Refund of Deposit                                                                   1180-000                                    -5,000.00

     Return of Deposit                                                                   1180-000                                    -5,000.00

     Approximately 13.28 acres of commercial/resident                                    1110-000                                    90,000.00

     O'Bar Stock                                                                         1129-000                                    12,500.00

     Excavation Contract                                                                 1122-000                                   216,365.19

     Country Bank DIP Account                                                            1290-000                                      239.83

     6.41 Acres of Unencumbered land                                                     1110-000                                   205,000.00


    TOTAL GROSS RECEIPTS                                                                                                           $524,105.02

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2 FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                          UNIFORM                                  $ AMOUNT
        PAYEE                                      DESCRIPTION
                                                                                         TRAN. CODE                                   PAID
                                                                  None

    TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                                                 $0.00
    PARTIES

EXHIBIT 3 SECURED CLAIMS


                                                      UNIFORM          CLAIMS
       CLAIM                                                          SCHEDULED               CLAIMS                  CLAIMS             CLAIMS
        NO.               CLAIMANT                     TRAN.           (from Form            ASSERTED                ALLOWED              PAID
                                                       CODE                6D)
           2      Katahdin Trust Company               4110-000              25,000.00             25,000.00                0.00                 0.00

           4 -2 Town of Sturbridge                     4700-000            N/A                     78,522.91                0.00                 0.00

           9S-2 Richard Pisarski                       4110-000             265,645.16             50,000.00                0.00                 0.00

          10S-2 Transportation Alliance Bank 4110-000                     2,010,000.00             99,481.54           93,000.00           93,000.00




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     14 -2 Windham Materials, LLC       4110-000          N/A              75,990.94           0.00            0.00

     15     Webster Federal Credit Union 4110-000         N/A             143,879.52           0.00            0.00

     16     Webster Federal Credit Union 4110-000         N/A              12,508.81           0.00            0.00

     ADM    Town of Sturbridge          4700-000          N/A              15,261.21      15,261.21      15,261.21

  SECURED   TD Bank, N.A.               4110-000          unknown          50,000.00      50,000.00      50,000.00


 TOTAL SECURED CLAIMS                                   $2,300,645.16    $550,644.93    $158,261.21    $158,261.21



EXHIBIT 4 CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                        UNIFORM
    PAYEE                                            CLAIMS              CLAIMS         CLAIMS        CLAIMS
                                         TRAN.
                                                    SCHEDULED           ASSERTED       ALLOWED         PAID
                                         CODE
 U.S. Trustee Quarterly Fees - U.S. Trustee 2950-000            N/A         1,627.02       1,627.02       1,627.02
 Payment Center
 Other - SHATZ SCHWARTZ & FENTIN, P.C.      2500-000            N/A         1,634.80       1,634.80       1,634.80

 Clerk of the Court Costs (includes          2700-000           N/A            11.00          11.00           11.00
 adversary and other filing fees) - UNITED
 Other - MP Group                            3410-000           N/A         1,066.00       1,066.00       1,066.00

 Clerk of the Court Costs (includes          2700-000           N/A            33.00          33.00           33.00
 adversary and other filing fees) - UNITED
 Other - INTERNATIONAL SURETIES, LTD.        2300-000           N/A            57.19          57.19           57.19

 Other - INTERNATIONAL SURETIES, LTD.        2300-000           N/A           100.90         100.90        100.90

 Other - INTERNATIONAL SURETIES, LTD.        2300-000           N/A           133.78         133.78        133.78

 Other - INTERNATIONAL SURETIES, LTD.        2300-000           N/A            18.45          18.45           18.45

 Other - Lamson and Goodnow                  2690-000           N/A           360.00         360.00        360.00

 Other - Tax Collector Town of Union         2820-000           N/A         2,715.16       2,715.16       2,715.16

 Other - MDOR                                2820-000           N/A           456.00         456.00        456.00

 Other - MDOR                                2820-000           N/A           456.00         456.00        456.00

 Other - MDOR                                2820-000           N/A           456.00         456.00        456.00

 Other - Tax Collector Town of Union         2820-000           N/A         1,836.22       1,836.22       1,836.22

 Other - MDOR                                2820-000           N/A           456.00         456.00        456.00

 Trustee Expenses - Steven Weiss             2200-000           N/A           504.21         504.21        504.21

 Trustee Compensation - Steven Weiss         2100-000           N/A        28,955.25      28,955.25      28,955.25

 Other - Town of Sturbridge                  2500-000           N/A            25.00          25.00           25.00

 Clerk of the Court Costs (includes          2700-000           N/A           181.00         181.00        181.00
 adversary and other filing fees) - UNITED
 Clerk of the Court Costs (includes          2700-000           N/A            11.00          11.00           11.00
 adversary and other filing fees) - UNITED
 Clerk of the Court Costs (includes          2700-000           N/A           181.00         181.00        181.00
 adversary and other filing fees) - UNITED
 Clerk of the Court Costs (includes          2700-000           N/A           181.00         181.00        181.00
 adversary and other filing fees) - UNITED



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 Other - Town of Union                      2990-000    N/A          370.00       370.00         370.00

 Other - Town of Holland                    2990-000    N/A          120.00       120.00         120.00

 Other - Town of Sturbridge                 2990-000    N/A           50.00        50.00            50.00

 Other - McClure Engingeering, Inc.         2990-000    N/A         5,000.00     5,000.00       5,000.00

 Attorney for Trustee Fees (Trustee Firm) - 3110-000    N/A       132,303.00   132,303.00     132,303.00
 SHATZ SCHWARTZ & FENTIN, P.C.
 Attorney for Trustee Fees (Trustee Firm) - 3110-000    N/A        38,656.00    38,656.00      38,656.00
 SHATZ SCHWARTZ & FENTIN, P.C.
 Attorney for Trustee Expenses (Trustee     3120-000    N/A          108.10       108.10         108.10
 Firm) - SHATZ SCHWARTZ & FENTIN, P.C.
 Other - MP Group                           3410-000    N/A         1,418.00     1,418.00       1,418.00

 Other - MP Group                           3410-000    N/A         1,263.00     1,263.00       1,263.00

 Other - MORIARTY & PRIMACK                 3410-000    N/A          926.00       926.00         926.00

 Other - Marc Kadis                         2990-000    N/A         2,250.00     2,250.00       2,250.00

 Other - Rabobank, N.A.                     2600-000    N/A           10.00        10.00            10.00

 Other - Rabobank, N.A.                     2600-000    N/A           11.24        11.24            11.24

 Other - Rabobank, N.A.                     2600-000    N/A           24.09        24.09            24.09

 Other - Rabobank, N.A.                     2600-000    N/A           34.62        34.62            34.62

 Other - Rabobank, N.A.                     2600-000    N/A           65.38        65.38            65.38

 Other - Rabobank, N.A.                     2600-000    N/A           69.79        69.79            69.79

 Other - Rabobank, N.A.                     2600-000    N/A           95.17        95.17            95.17

 Other - Rabobank, N.A.                     2600-000    N/A           98.97        98.97            98.97

 Other - Rabobank, N.A.                     2600-000    N/A          108.82       108.82         108.82

 Other - Rabobank, N.A.                     2600-000    N/A          131.11       131.11         131.11

 Other - Rabobank, N.A.                     2600-000    N/A          131.70       131.70         131.70

 Other - Rabobank, N.A.                     2600-000    N/A          146.74       146.74         146.74

 Other - Rabobank, N.A.                     2600-000    N/A          142.94       142.94         142.94

 Other - Rabobank, N.A.                     2600-000    N/A          172.22       172.22         172.22

 Other - Rabobank, N.A.                     2600-000    N/A          166.52       166.52         166.52

 Other - Rabobank, N.A.                     2600-000    N/A          216.51       216.51         216.51

 Other - Rabobank, N.A.                     2600-000    N/A          205.92       205.92         205.92

 Other - Rabobank, N.A.                     2600-000    N/A          204.71       204.71         204.71

 Other - Rabobank, N.A.                     2600-000    N/A          245.88       245.88         245.88

 Other - Rabobank, N.A.                     2600-000    N/A          228.29       228.29         228.29

 Other - Rabobank, N.A.                     2600-000    N/A          265.67       265.67         265.67

 Other - Rabobank, N.A.                     2600-000    N/A          256.22       256.22         256.22

 Other - Rabobank, N.A.                     2600-000    N/A          256.49       256.49         256.49




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 Other - Rabobank, N.A.                       2600-000         N/A         301.97         301.97        301.97

 Other - Rabobank, N.A.                       2600-000         N/A         266.25         266.25        266.25

 Other - Rabobank, N.A.                       2600-000         N/A         288.25         288.25        288.25

 Other - Rabobank, N.A.                       2600-000         N/A         283.08         283.08        283.08

 Other - Hampden County Registry of Deeds     2500-000         N/A       1,541.28       1,541.28       1,541.28

 Other - Hampden County Registry of Deeds     2500-000         N/A          75.00          75.00           75.00

 Other - Gary Weiner, Esquire                 3991-120         N/A       7,500.00       7,500.00       7,500.00

 Other - Worcester District Registry of       2500-000         N/A       3,018.72       3,018.72       3,018.72
 Deeds
 Other - Worcester District Registry of       2500-000         N/A          75.00          75.00           75.00
 Deeds
 Other - State of Connecticut                 2500-000         N/A       2,250.00       2,250.00       2,250.00

 Other - Town of Union, Connecticut           2820-000         N/A         750.00         750.00        750.00

 Other - Town of Union, Connecticut           2500-000         N/A           2.00           2.00            2.00

 Other - Town Union, Connecticut              2500-000         N/A          75.00          75.00           75.00

 Other - Town of Union, Connecticut           2500-000         N/A          75.00          75.00           75.00

 Other - Worcester County Registry of Deeds 2500-000           N/A          75.00          75.00           75.00

 Other - Hampden County Registry of Deeds     2500-000         N/A          75.00          75.00           75.00

 Other - Rabobank, N.A.                       2600-000         N/A         327.04         327.04        327.04

 Other - Rabobank, N.A.                       2600-000         N/A         273.47         273.47        273.47

 Other - Rabobank, N.A.                       2600-000         N/A         299.05         299.05        299.05

 Other - Rabobank, N.A.                       2600-000         N/A         289.17         289.17        289.17

 Other - Rabobank, N.A.                       2600-000         N/A         148.99         148.99        148.99

 Other - Rabobank, N.A.                       2600-000         N/A         175.40         175.40        175.40

 Other - David C. Roy                         2500-000         N/A       4,500.00       4,500.00       4,500.00

 Other - David C. Roy                         2820-000         N/A       8,003.88       8,003.88       8,003.88

 Other - David C. Roy                         2500-000         N/A         982.00         982.00        982.00

 TOTAL CHAPTER 7 ADMIN. FEES                             N/A          $258,859.63    $258,859.63    $258,859.63
 AND CHARGES


EXHIBIT 5 PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                       UNIFORM
    PAYEE                                             CLAIMS          CLAIMS         CLAIMS        CLAIMS
                                        TRAN.
                                                     SCHEDULED       ASSERTED       ALLOWED         PAID
                                        CODE
 Hendel, Collins & O'Connor, P.C.         6220-170       N/A             1,163.96       1,163.96       1,163.96

 Hendel & Collins, P.C.                   6210-000       N/A            61,606.29      61,606.29      61,606.29

 Michael Lussier                          6410-000       N/A             2,130.00       2,130.00       2,130.00




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 TOTAL PRIOR CHAPTER ADMIN.                                N/A                   $64,900.25     $64,900.25      $64,900.25
 FEES AND CHARGES


EXHIBIT 6 PRIORITY UNSECURED CLAIMS


                                         UNIFORM       CLAIMS                CLAIMS
   CLAIM                                              SCHEDULED             ASSERTED            CLAIMS        CLAIMS
    NO.           CLAIMANT                TRAN.        (from Form          (from Proofs of     ALLOWED         PAID
                                          CODE             6E)                  Claim)
                                                    None

 TOTAL PRIORITY UNSECURED                                        $0.00                 $0.00        $0.00             $0.00
 CLAIMS


EXHIBIT 7 GENERAL UNSECURED CLAIMS


                                         UNIFORM       CLAIMS                CLAIMS
   CLAIM                                              SCHEDULED             ASSERTED            CLAIMS        CLAIMS
    NO.           CLAIMANT                TRAN.        (from Form          (from Proofs of     ALLOWED         PAID
                                          CODE             6F)                  Claim)
      1     Herb Holding Trucking, Inc. 7100-000           N/A                   104,024.40     104,024.40        3,715.38

      3     TD Bank N.A.                 7100-000          N/A                   142,372.30      92,372.30        3,299.21

      5     Towne Engineering, Inc.      7100-000          N/A                    27,083.85           0.00             0.00

      6     ATC Group Services, Inc.     7100-000           59,000.00             54,382.44      54,382.44        1,942.35
            d/b/a AC Associates, Inc.
      7     Martin B. Burke, Esq.        7100-000            1,100.00               1,121.25      1,121.25            40.05

      8 -2 Kahan Kerensky & Capossela, 7100-000            N/A                    42,241.92      42,241.92        1,508.73
           LLP
      9U-2 Richard Pisarski            7100-000            N/A                   120,645.16     107,645.16        3,844.70

     10U-2 Transportation Alliance Bank 7100-000           N/A                   685,658.03     692,139.60       24,720.76

     11     McClure Engineering          7100-000           66,000.00             57,267.99      57,267.99        2,045.41

     13     Towne Engineering, Inc.      7100-000          N/A                    27,083.85      27,083.85         967.34

 NOTFILED   Mainline Heating And Supply, 7100-000                   0.00         N/A                N/A                0.00
            Inc.
 NOTFILED   MHF Design Consultants, Inc. 7100-000            8,500.00            N/A                N/A                0.00
            CIO Wendy Olinsky, Esq.
 NOTFILED   Jean David Alder Sawmill     7100-000            6,600.00            N/A                N/A                0.00
            Produits Forestiers St.
 NOTFILED   Harry Peters                 7100-000           10,000.00            N/A                N/A                0.00

 NOTFILED   Raymond Chartier             7100-000                   0.00         N/A                N/A                0.00

 NOTFILED   Towne Engineering, Inc.      7100-000           24,000.00            N/A                N/A                0.00

 NOTFILED   Wagner Wood, Co.             7100-000           13,000.00            N/A                N/A                0.00

 NOTFILED   Seth Lajoie And Associates   7100-000            1,340.00            N/A                N/A                0.00

 NOTFILED   Tasse Oil Co.                7100-000            4,500.00            N/A                N/A                0.00

 NOTFILED   Michael V. Caplette, Esq.    7100-000            1,689.00            N/A                N/A                0.00

 NOTFILED   Greenman Pedersen, Inc.      7100-000           24,140.14            N/A                N/A                0.00



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 NOTFILED   American Express            7100-000         600.00      N/A                 N/A               0.00

 NOTFILED   Branse, Willis And Knapp,   7100-000      21,800.00      N/A                 N/A               0.00
            LLC
 NOTFILED   American Express            7100-000       1,835.00      N/A                 N/A               0.00

 NOTFILED   Baystate Environmental      7100-000       9,100.00      N/A                 N/A               0.00
            Consultants, Inc.
 TOTAL GENERAL UNSECURED                            $253,204.14   $1,261,881.19   $1,178,278.91      $42,083.93
 CLAIMS




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                                                                                   Form 1                                                                                  Page: 1

                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 14-30687                                                                       Trustee:          (410011)   Steven Weiss
Case Name:         NEW ENGLAND LAND AND LUMBER CORPORA                                      Filed (f) or Converted (c): 01/29/16 (c)
                                                                                            §341(a) Meeting Date:        02/23/16
Period Ending: 04/01/20                                                                     Claims Bar Date:             05/23/16

                                1                                          2                            3                     4                   5                    6

                     Asset Description                                Petition/              Estimated Net Value          Property          Sale/Funds            Asset Fully
          (Scheduled And Unscheduled (u) Property)                  Unscheduled         (Value Determined By Trustee,    Abandoned          Received by        Administered (FA)/
                                                                       Values              Less Liens, Exemptions,       OA=§554(a)          the Estate         Gross Value of
Ref. #                                                                                         and Other Costs)                                                Remaining Assets

 1        Approximately 13.28 acres of commercial/resident               290,000.00                      75,000.00                               90,000.00                       FA
           Located in Ashford CT

 2        Approximately 22 acres of raw land located in th               210,000.00                      34,354.84          OA                          0.00                     FA
           Holland MA Book 339 Page 100

 3        Approximately 395 acres of raw land located in t             3,500,000.00                    1,431,000.00                                     0.00                     FA
           Holland and Sturbridge MA and Town of Union CT

 4        Cash                                                                 200.00                         200.00                                    0.00                     FA
           Imported from original petition Doc# 23

 5        Business Checking Account held with Country Bank                       0.00                           0.00                                    0.00                     FA
           Imported from original petition Doc# 23

 6        1998 John Deere 648 G2 Grapple Skidder                          25,000.00                             0.00                                    0.00                     FA
           Sold during chapter 11 (See Footnote)

 7        Processed inventory used in construction                        60,000.00                      60,000.00                                      0.00                     FA
           Sold during chapter 11 (See Footnote)

 8        O'Bar Stock                                                      Unknown                       12,500.00                               12,500.00                       FA

 9        Excavation Contract                                              Unknown                      147,000.00                              216,365.19                       FA
           $8k monthly

10        Country Bank DIP Account (u)                                           0.00                         239.83                                  239.83                     FA

11        6.41 Acres of Unencumbered land                                        0.00                   125,000.00                              205,000.00                       FA

 11      Assets      Totals (Excluding unknown values)                $4,085,200.00                  $1,885,294.67                             $524,105.02                  $0.00


      RE PROP# 6         Sold during Chapter 11
      RE PROP# 7         Sold during chapter 11



      Major Activities Affecting Case Closing:

                  9.25.2019: compromise reached with TAB; amended motion filed
                  9.13.19: Filed motion to make distribution to TAB; Objection filed; Hearing scheduled for 10.3.19
                  5.29.2019: Sale of Mashapaug Road, Ashford approved and completed; 2018 tax returns filed; all claims except TAB resolved, but called TAB counsel to request
                  amendment
                  12.13.18; Sale completed;; Reviewing claims and filed objections; Need to file 2018 Tax Returns.
                  7/5/18 Land subject to TAB mortgage comveyed to TAB 5/15/18. Discoverd that 6.41 acre parcel is unencumbered. I am marketing that parcel.
                  1.24.17 Filed motion for sale
                  11/12/17: Extended excavation permit to 12/6/18; Still seeking sale to bank or 3rd party.


                                                                                                                                           Printed: 04/01/2020 11:48 AM     V.14.66
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                                                                                                                                                                                Exhibit 8


                                                                                  Form 1                                                                                        Page: 2

                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 14-30687                                                                      Trustee:          (410011)      Steven Weiss
Case Name:       NEW ENGLAND LAND AND LUMBER CORPORA                                       Filed (f) or Converted (c): 01/29/16 (c)
                                                                                           §341(a) Meeting Date:           02/23/16
Period Ending: 04/01/20                                                                    Claims Bar Date:                05/23/16

                              1                                             2                            3                       4                    5                   6

                    Asset Description                                Petition/              Estimated Net Value             Property             Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)                  Unscheduled         (Value Determined By Trustee,       Abandoned             Received by      Administered (FA)/
                                                                      Values              Less Liens, Exemptions,          OA=§554(a)             the Estate       Gross Value of
Ref. #                                                                                        and Other Costs)                                                    Remaining Assets

                6/15/17: Buyer is going through due diligence; Hoping to dile sale motion in July
                3/21/17: Offer of $1.3 Million received for property; Attempting to negotiate
                01.12.2017: Auction had been scheduled on MA properties; postponed to 1/26 because of possible sale
                12.7.2016: Permit extended for a year.
                11/22/16; Windham Materials has filed to extend excavation permit (expires 12/4/16)
                7/26/15: Hired broker to attempt to sell primary property
                5/30/16; Have been attempting to negotiate sale terms to "short sale" to holder of mortgage on properties in Union, CT., and MA; Have extended excavation permit
                through 12/4/16.

     Initial Projected Date Of Final Report (TFR):       November 23, 2017                      Current Projected Date Of Final Report (TFR):       November 5, 2019 (Actual)




                                                                                                                                                Printed: 04/01/2020 11:48 AM     V.14.66
                        Case 14-30687                  Doc 311           Filed 04/09/20 Entered 04/09/20 12:44:28                                               Desc Main
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                                                   Cash Receipts And Disbursements Record
Case Number:         14-30687                                                                          Trustee:            Steven Weiss (410011)
Case Name:           NEW ENGLAND LAND AND LUMBER CORPORA                                               Bank Name:          Mechanics Bank
                                                                                                       Account:            ******3066 - Checking Account
Taxpayer ID #: **-***5164                                                                              Blanket Bond:       $7,000,000.00 (per case limit)
Period Ending: 04/01/20                                                                                Separate Bond: N/A

   1            2                          3                                             4                                             5                    6                  7

 Trans.     {Ref #} /                                                                                                              Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                    Description of Transaction                T-Code              $                   $       Account Balance
02/11/16      {10}        Country Bank                         Balance of Debtor's DIP account                    1290-000                 239.83                                   239.83
03/01/16                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                       10.00              229.83
03/07/16       {8}        John Patten                          Deposit for Sale of O'Bar stock                    1129-000              2,500.00                                   2,729.83
03/10/16       {9}        Windham Materials, LLC               Partial payment under excavation contract          1122-000                 500.00                                  3,229.83
03/10/16       {9}        Windham Materials, LLC               Partial payment under excavation contract          1122-000              8,000.00                               11,229.83
03/31/16                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                       11.24         11,218.59
04/07/16       {9}        Windham Materials, LLC               Monthly ecavation fee                              1122-000              8,500.00                               19,718.59
04/29/16                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                       24.09         19,694.50
05/09/16       {9}        Windham Materials                    Excavation payment                                 1122-000              8,500.00                               28,194.50
05/31/16                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                       34.62         28,159.88
06/03/16       {9}        Windham Materials, LLC               Excavation payment                                 1122-000              8,500.00                               36,659.88
06/03/16       {8}        John Patten (Ehrhard & Associates)   Balance for O'Bar stock                            1129-000             10,000.00                               46,659.88
06/13/16      101         Lamson and Goodnow                   Permit                                             2690-000                                      360.00         46,299.88
06/30/16                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                       65.38         46,234.50
07/14/16       {9}        Windham Materials                    Excavation payment                                 1122-000              8,500.00                               54,734.50
07/29/16                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                       69.79         54,664.71
08/04/16      102         INTERNATIONAL SURETIES, LTD.         BOND PREMIUM PAYMENT ON LEDGER                     2300-000                                       18.45         54,646.26
                                                               BALANCE AS OF 08/04/2016 FOR CASE
                                                               #14-30687, Blanket Bond 016027601
08/08/16       {9}        Windham Materials                    Excavation payment                                 1122-000              8,500.00                               63,146.26
08/31/16                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                       95.17         63,051.09
09/08/16       {9}        Windham Materials                    Excavation payment                                 1122-000              8,500.00                               71,551.09
09/30/16                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                       98.97         71,452.12
10/04/16       {9}        Windham Materials, LLC               Monthly excavation fee                             1122-000              8,500.00                               79,952.12
10/31/16                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                      108.82         79,843.30
11/07/16       {9}        Windham Materials, LLC               Excavation fee                                     1122-000              8,500.00                               88,343.30
11/30/16                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                      131.11         88,212.19
12/01/16       {9}        Windham Materials, LLC               Monthly Excavation fee (net of real estate         1122-000              3,865.21                               92,077.40
                                                               taxes)
12/30/16                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                      131.70         91,945.70
01/13/17       {9}        Windham Materials, LLC               Monthly excavation fee                             1122-000              8,500.00                           100,445.70
01/31/17      103         MDOR                                 XX-XXXXXXX                                         2820-000                                      456.00         99,989.70
01/31/17                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                      146.74         99,842.96
02/06/17       {9}        Windham Materials, LLC               Excavation Fee                                     1122-000              8,500.00                           108,342.96
02/28/17                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                      142.94     108,200.02
03/02/17       {9}        Windham Materials                    Monthly excavation fee                             1122-000              8,500.00                           116,700.02
03/31/17                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                      172.22     116,527.80

                                                                                                        Subtotals :                 $118,605.04             $2,077.24
{} Asset reference(s)                                                                                                                           Printed: 04/01/2020 11:48 AM        V.14.66
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                                                   Cash Receipts And Disbursements Record
Case Number:         14-30687                                                                    Trustee:            Steven Weiss (410011)
Case Name:           NEW ENGLAND LAND AND LUMBER CORPORA                                         Bank Name:          Mechanics Bank
                                                                                                 Account:            ******3066 - Checking Account
Taxpayer ID #: **-***5164                                                                        Blanket Bond:       $7,000,000.00 (per case limit)
Period Ending: 04/01/20                                                                          Separate Bond: N/A

   1            2                          3                                         4                                           5                     6                 7

 Trans.     {Ref #} /                                                                                                        Receipts        Disbursements    Checking
  Date      Check #          Paid To / Received From                Description of Transaction              T-Code              $                  $       Account Balance
04/04/17       {9}        Windham Materials, LLC            Monthly excavation fee                          1122-000              8,500.00                           125,027.80
04/28/17                  Rabobank, N.A.                    Bank and Technology Services Fee                2600-000                                       166.52    124,861.28
05/02/17       {9}        Windham Materials, LLC            Monthly Excavation fee                          1122-000              8,500.00                           133,361.28
05/18/17      104         MORIARTY & PRIMACK                Accountant Fees                                 3410-000                                       926.00    132,435.28
05/31/17                  Rabobank, N.A.                    Bank and Technology Services Fee                2600-000                                       216.51    132,218.77
06/08/17       {9}        Windham Materials, LLC            Monthly Excavation fee                          1122-000              8,500.00                           140,718.77
06/30/17                  Rabobank, N.A.                    Bank and Technology Services Fee                2600-000                                       205.92    140,512.85
07/14/17      105         Tax Collector Town of Union       2016 01 0000418 Real Estate Tax                 2820-000                                    1,357.58     139,155.27
07/14/17      106         Tax Collector Town of Union       2016 01 0000419 Real Estate Tax                 2820-000                                    1,836.22     137,319.05
07/18/17       {9}        Windham Materials, LLC            Excavation Contract                             1122-000              8,500.00                           145,819.05
07/28/17      107         Tax Collector Town of Union       2016 01 0000418 Real Estate Tax                 2820-000                                    1,357.58     144,461.47
07/31/17                  Rabobank, N.A.                    Bank and Technology Services Fee                2600-000                                       204.71    144,256.76
08/07/17       {9}        Windham Materials, LLC            Monthly Excavating                              1122-000              8,500.00                           152,756.76
08/31/17                  Rabobank, N.A.                    Bank and Technology Services Fee                2600-000                                       245.88    152,510.88
09/05/17       {9}        Windham Materials, LLC            Monthly excavation fee                          1122-000              8,500.00                           161,010.88
09/29/17                  Rabobank, N.A.                    Bank and Technology Services Fee                2600-000                                       228.29    160,782.59
10/02/17       {9}        Windham Materials, LLC            Monthly Excavation Fee                          1122-000              8,500.00                           169,282.59
10/31/17                  Rabobank, N.A.                    Bank and Technology Services Fee                2600-000                                       265.67    169,016.92
11/09/17      108         Town of Union                     Renewal of Special Permit                       2990-000                                       360.00    168,656.92
11/14/17       {9}        Windham Materials, LLC            November Excavation fee                         1122-000              8,500.00                           177,156.92
11/21/17      109         McClure Engingeering, Inc.        Surveying Fees                                  2990-000                                    2,500.00     174,656.92
11/30/17                  Rabobank, N.A.                    Bank and Technology Services Fee                2600-000                                       256.22    174,400.70
12/07/17       {9}        Windham Materials                 Monthly excavation fee                          1122-000              7,083.33                           181,484.03
12/29/17                  Rabobank, N.A.                    Bank and Technology Services Fee                2600-000                                       256.49    181,227.54
01/08/18       {9}        Windham Materials, LLC            Monthly excavation fee                          1122-000              7,083.33                           188,310.87
01/23/18      110         UNITED STATES BANKRUPTCY          Sale Motion                                     2700-000                                       181.00    188,129.87
                          COURT
01/31/18                  Rabobank, N.A.                    Bank and Technology Services Fee                2600-000                                       301.97    187,827.90
02/05/18       {9}        Windham Materials, LLC            Monthly excavation fee                          1122-000              7,083.33                           194,911.23
02/13/18      111         MDOR                              Taxes                                           2820-000                                       456.00    194,455.23
02/14/18                  To Account #******3067            Bond Fees Transfer                              9999-000                                        57.19    194,398.04
02/28/18                  Rabobank, N.A.                    Bank and Technology Services Fee                2600-000                                       266.25    194,131.79
03/01/18      112         McClure Engingeering, Inc.        Gravel Pit Survey                               2990-000                                    2,500.00     191,631.79
03/05/18       {9}        Windham Materials, LLC            Monthly excavation fee                          1122-000              7,083.33                           198,715.12
03/12/18      113         UNITED STATES BANKRUPTCY                                                          2700-000                                        33.00    198,682.12
                          COURT
03/12/18      114         Town of Sturbrudge                Municipal Lien Certificate                      2990-000                                        50.00    198,632.12

                                                                                                 Subtotals :                   $96,333.32             $14,229.00
{} Asset reference(s)                                                                                                                     Printed: 04/01/2020 11:48 AM        V.14.66
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                                                    Cash Receipts And Disbursements Record
Case Number:         14-30687                                                                         Trustee:            Steven Weiss (410011)
Case Name:           NEW ENGLAND LAND AND LUMBER CORPORA                                              Bank Name:          Mechanics Bank
                                                                                                      Account:            ******3066 - Checking Account
Taxpayer ID #: **-***5164                                                                             Blanket Bond:       $7,000,000.00 (per case limit)
Period Ending: 04/01/20                                                                               Separate Bond: N/A

   1            2                           3                                             4                                           5                     6                 7

 Trans.     {Ref #} /                                                                                                             Receipts        Disbursements    Checking
  Date      Check #          Paid To / Received From                     Description of Transaction              T-Code              $                  $       Account Balance
03/12/18      115         Town of Holland                        Payment for Municipal Lien                      2990-000                                       120.00    198,512.12
03/30/18                  Rabobank, N.A.                         Bank and Technology Services Fee                2600-000                                       288.25    198,223.87
04/05/18       {9}        Windham Materials, LLC                 Monthly excavation fee                          1122-000              7,083.33                           205,307.20
04/30/18                  Rabobank, N.A.                         Bank and Technology Services Fee                2600-000                                       283.08    205,024.12
05/01/18       {9}        Windham Materials, LLC                 Monthly Excavation fee                          1122-000              7,083.33                           212,107.45
05/10/18      116         Hampden County Registry of Deeds       Tax Stamp                                       2500-000                                    1,541.28     210,566.17
05/10/18      117         Hampden County Registry of Deeds       Recording, Order                                2500-000                                        75.00    210,491.17
05/10/18      118         Gary Weiner, Esquire                   Counsel for ATC Associates, Inc.                3991-120                                    7,500.00     202,991.17
05/10/18      119         Worcester District Registry of Deeds   Tax Stamp                                       2500-000                                    3,018.72     199,972.45
05/10/18      120         Worcester District Registry of Deeds   Recording, Order                                2500-000                                        75.00    199,897.45
05/10/18      121         State of Connecticut                   Transfer Tax                                    2500-000                                    2,250.00     197,647.45
05/10/18      122         Town of Union, Connecticut             Transfer Tax                                    2820-000                                       750.00    196,897.45
05/10/18      123         Town of Union, Connecticut             Transfer Fee                                    2500-000                                         2.00    196,895.45
05/10/18      124         Town Union, Connecticut                Recording, Order                                2500-000                                        75.00    196,820.45
05/14/18      125         Town of Union, Connecticut             Recording Fee/Deed                              2500-000                                        75.00    196,745.45
05/14/18      126         Worcester County Registry of Deeds Recording Fee/Deed                                  2500-000                                        75.00    196,670.45
05/14/18      127         Hampden County Registry of Deeds       Recording Fee/Deed                              2500-000                                        75.00    196,595.45
05/21/18      128         Town of Union                          Filing Fee                                      2990-000                                        10.00    196,585.45
05/31/18                  Rabobank, N.A.                         Bank and Technology Services Fee                2600-000                                       327.04    196,258.41
06/05/18      129         MORIARTY & PRIMACK                     Accountant Fees                                 3410-000                                    1,066.00     195,192.41
                                                                 Voided on 06/05/18
06/05/18      129         MORIARTY & PRIMACK                     Accountant Fees                                 3410-000                                   -1,066.00     196,258.41
                                                                 Voided: check issued on 06/05/18
06/05/18      130         MP Group                               Accountant Fees                                 3410-000                                    1,066.00     195,192.41
06/29/18                  Rabobank, N.A.                         Bank and Technology Services Fee                2600-000                                       273.47    194,918.94
07/31/18                  Rabobank, N.A.                         Bank and Technology Services Fee                2600-000                                       299.05    194,619.89
08/03/18      131         INTERNATIONAL SURETIES, LTD.           BOND PREMIUM PAYMENT ON LEDGER                  2300-000                                       100.90    194,518.99
                                                                 BALANCE AS OF 08/03/2018 FOR CASE
                                                                 #14-30687, Blanket Bond 016027601
08/31/18                  Rabobank, N.A.                         Bank and Technology Services Fee                2600-000                                       289.17    194,229.82
09/28/18                  Rabobank, N.A.                         Bank and Technology Services Fee                2600-000                                       148.99    194,080.83
10/16/18      132         UNITED STATES BANKRUPTCY               Filing Fee Motion for Sale                      2700-000                                       181.00    193,899.83
                          COURT
10/31/18                  Rabobank, N.A.                         Bank and Technology Services Fee                2600-000                                       175.40    193,724.43
11/05/18      133         SHATZ SCHWARTZ & FENTIN,               Interim Attorney for Trustee Fees               3110-000                                   75,000.00     118,724.43
                          P.C.
11/05/18      134         SHATZ SCHWARTZ & FENTIN,               Interim Attorney Expenses                       3120-000                                       108.10    118,616.33

                                                                                                      Subtotals :                   $14,166.66             $94,182.45
{} Asset reference(s)                                                                                                                          Printed: 04/01/2020 11:48 AM        V.14.66
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                                                    Cash Receipts And Disbursements Record
Case Number:        14-30687                                                                        Trustee:            Steven Weiss (410011)
Case Name:          NEW ENGLAND LAND AND LUMBER CORPORA                                             Bank Name:          Mechanics Bank
                                                                                                    Account:            ******3066 - Checking Account
Taxpayer ID #: **-***5164                                                                           Blanket Bond:       $7,000,000.00 (per case limit)
Period Ending: 04/01/20                                                                             Separate Bond: N/A

   1            2                         3                                           4                                             5                     6                 7

 Trans.     {Ref #} /                                                                                                           Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From                 Description of Transaction                 T-Code              $                  $       Account Balance
                         P.C.
11/20/18      135        Town of Sturbridge                 Municipal Lien Certificate Parcel 55205032680      2500-000                                        25.00    118,591.33
11/20/18      136        UNITED STATES BANKRUPTCY           Certified Copy of Order                            2700-000                                        11.00    118,580.33
                         COURT
01/08/19                 To Account #******3068                                                                9999-000                                   18,461.79     100,118.54
01/10/19      137        UNITED STATES BANKRUPTCY           Motion for Sale                                    2700-000                                       181.00        99,937.54
                         COURT
03/14/19      138        MDOR                               Period Ending 12/21/18                             2820-000                                       456.00        99,481.54
06/26/19      139        MDOR                                                                                  2820-000                                       456.00        99,025.54
06/26/19      140        MP Group                           Accountant Fees                                    3410-000                                    1,263.00         97,762.54
07/26/19                 From Account #******3068           Transfer                                           9999-000             18,461.79                           116,224.33
08/09/19      141        INTERNATIONAL SURETIES, LTD.       BOND PREMIUM PAYMENT ON LEDGER                     2300-000                                       133.78    116,090.55
                                                            BALANCE AS OF 08/09/2019 FOR CASE
                                                            #14-30687, Bond 016027601
08/28/19      142        MP Group                           Account Fees                                       3410-000                                    1,418.00     114,672.55
10/03/19      143        Transportation Alliance Bank       Secured Claim                                      4110-000                                   80,000.00         34,672.55
02/26/20                 To Account #******3068             TRANSFER                                           9999-000                                   34,672.55                0.00

                                                                                 ACCOUNT TOTALS                                   247,566.81             247,566.81               $0.00
                                                                                          Less: Bank Transfers                      18,461.79             53,191.53
                                                                                 Subtotal                                         229,105.02             194,375.28
                                                                                          Less: Payments to Debtors                                             0.00
                                                                                 NET Receipts / Disbursements                    $229,105.02         $194,375.28




{} Asset reference(s)                                                                                                                        Printed: 04/01/2020 11:48 AM        V.14.66
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                                                    Cash Receipts And Disbursements Record
Case Number:        14-30687                                                                           Trustee:            Steven Weiss (410011)
Case Name:          NEW ENGLAND LAND AND LUMBER CORPORA                                                Bank Name:          Mechanics Bank
                                                                                                       Account:            ******3067 - Checking Account
Taxpayer ID #: **-***5164                                                                              Blanket Bond:       $7,000,000.00 (per case limit)
Period Ending: 04/01/20                                                                                Separate Bond: N/A

   1            2                          3                                            4                                              5                    6                  7

 Trans.     {Ref #} /                                                                                                              Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                     Description of Transaction                T-Code              $                   $       Account Balance
04/24/17                 Landing Rock, LLC (Hinckley Allen & Deposit for sale of real estate in Sturbridge,       1180-002              5,000.00                                   5,000.00
                         Snyder)                               Holland, and Union Ct.
08/04/17     10101       INTERNATIONAL SURETIES, LTD.          BOND PREMIUM PAYMENT ON LEDGER                     2300-000                                       57.19             4,942.81
                                                               BALANCE AS OF 08/04/2017 FOR CASE
                                                               #14-30687, Bond 016027601 8/1/17 to 8/1/18
02/14/18                 From Account #******3066              Bond Fees Transfer                                 9999-000                  57.19                                  5,000.00
02/14/18     10102       Landing Rock, LLC                     Return of Deposit                                  1180-000             -5,000.00                                       0.00

                                                                                     ACCOUNT TOTALS                                         57.19                57.19               $0.00
                                                                                             Less: Bank Transfers                           57.19                 0.00
                                                                                     Subtotal                                                0.00                57.19
                                                                                             Less: Payments to Debtors                                            0.00
                                                                                     NET Receipts / Disbursements                           $0.00               $57.19




{} Asset reference(s)                                                                                                                           Printed: 04/01/2020 11:48 AM        V.14.66
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                                                     Cash Receipts And Disbursements Record
Case Number:         14-30687                                                                           Trustee:             Steven Weiss (410011)
Case Name:           NEW ENGLAND LAND AND LUMBER CORPORA                                                Bank Name:           Mechanics Bank
                                                                                                        Account:             ******3068 - Deposit on Real Estate
Taxpayer ID #: **-***5164                                                                               Blanket Bond:        $7,000,000.00 (per case limit)
Period Ending: 04/01/20                                                                                 Separate Bond: N/A

   1            2                          3                                           4                                                 5                    6                  7

 Trans.     {Ref #} /                                                                                                                Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                     Description of Transaction                 T-Code              $                   $       Account Balance
10/15/18                  Marc Kadis                           Deposit for 6.41 acre parcel                        1180-002               5,000.00                                   5,000.00
11/09/18      {11}        Landing Rock LLC                     Deposit on Land 6.41 Acres                          1110-000               5,000.00                               10,000.00
12/12/18      {11}        Landing Rock LLC                     Sale of 6.41 Acres                                  1110-000               6,525.00                               16,525.00
12/12/18      {11}        Landing Rock LLC                     Sale of 6.41 Acres                                  1110-000             193,525.00                           210,050.00
12/13/18     20101        Marc Kadis                           Refund of Deposit                                   1180-000              -5,000.00                           205,050.00
12/13/18     20102        Marc Kadis                           Break Up Fee                                        2990-000                                    2,250.00      202,800.00
12/13/18     20103        Town of Sturbridge                   Real Estate Taxes 6.41 Acres                        4700-000                                   16,781.87      186,018.13
01/03/19                  Town of Sturbridge                   Refund of overpayment of real estate taxes          4700-000                                       -570.08    186,588.21
01/08/19                  From Account #******3066                                                                 9999-000              18,461.79                           205,050.00
01/08/19 20104 {11} Landing Rock, LLC                          Refund overpayment on Sale of Property              1110-000                  -50.00                          205,000.00
01/08/19     20105        CSC                                  Recording Fees                                      2500-000                                    1,634.80      203,365.20
                                                               Voided on 01/30/19
01/30/19     20105        CSC                                  Recording Fees                                      2500-000                                   -1,634.80      205,000.00
                                                               Voided: check issued on 01/08/19
01/30/19     20106        SHATZ SCHWARTZ & FENTIN,             Closing costs                                       2500-000                                    1,634.80      203,365.20
                          P.C.
02/14/19     20107        UNITED STATES BANKRUPTCY             Certified Copy                                      2700-000                                         11.00    203,354.20
                          COURT
03/01/19       {1}        Connecticut Crossroads REalty (roy) Deposit from buyer (through broker)                  1110-000               1,000.00                           204,354.20
03/01/19                  David C. Roy                         Wire for Purchase of Mashapoag Road,                                      76,464.70                           280,818.90
                                                               Ashford
               {1}          David C. Roy                          Sale of Property                89,000.00        1110-000                                                  280,818.90
                                                                  Brokers Commission              -4,500.00        2500-000                                                  280,818.90
                                                                  Real Estate Taxes               -8,003.88        2820-000                                                  280,818.90
                                                                  Closing Costs                       -982.00      2500-000                                                  280,818.90
                            Town of Sturbridge                                                        950.58       4700-000                                                  280,818.90
03/04/19     20108        TD Bank, N.A.                        Secured Loan Mashapoag Rd. Ashford, CT              4110-000                                   50,000.00      230,818.90
07/26/19                  To Account #******3066               Transfer                                            9999-000                                   18,461.79      212,357.11
02/26/20                  From Account #******3066             TRANSFER                                            9999-000              34,672.55                           247,029.66
02/26/20     20109        Transportation Alliance Bank         Dividend paid 100.00% on $93,000.00; Claim#         4110-000                                   13,000.00      234,029.66
                                                               10S-2; Filed: $99,481.54; Reference:
02/26/20     20110        U.S. Trustee Payment Center          Dividend paid 100.00% on $1,627.02, U.S.            2950-000                                    1,627.02      232,402.64
                                                               Trustee Quarterly Fees; Reference:
02/26/20     20111        Steven Weiss                         Dividend paid 100.00% on $504.21, Trustee           2200-000                                        504.21    231,898.43
                                                               Expenses; Reference:
02/26/20     20112        SHATZ SCHWARTZ & FENTIN,             Dividend paid 100.00% on $132,303.00,               3110-000                                   57,303.00      174,595.43
                          P.C.                                 Attorney for Trustee Fees (Trustee Firm);
                                                               Reference:
                                                                                                           Subtotals :                $335,599.04         $161,003.61
{} Asset reference(s)                                                                                                                             Printed: 04/01/2020 11:48 AM        V.14.66
                        Case 14-30687                   Doc 311        Filed 04/09/20 Entered 04/09/20 12:44:28                                                 Desc Main
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                                                   Cash Receipts And Disbursements Record
Case Number:        14-30687                                                                          Trustee:            Steven Weiss (410011)
Case Name:          NEW ENGLAND LAND AND LUMBER CORPORA                                               Bank Name:          Mechanics Bank
                                                                                                      Account:            ******3068 - Deposit on Real Estate
Taxpayer ID #: **-***5164                                                                             Blanket Bond:       $7,000,000.00 (per case limit)
Period Ending: 04/01/20                                                                               Separate Bond: N/A

   1            2                           3                                        4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                             Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From                  Description of Transaction                  T-Code              $                  $       Account Balance
02/26/20     20113       Steven Weiss                        Dividend paid 100.00% on $28,955.25,                2100-000                                   28,955.25     145,640.18
                                                             Trustee Compensation; Reference:
02/26/20     20114       SHATZ SCHWARTZ & FENTIN,            Dividend paid 100.00% on $38,656.00,                3110-000                                   38,656.00     106,984.18
                         P.C.                                Attorney for Trustee Fees (Trustee Firm);
                                                             Reference:
02/26/20     20115       Hendel, Collins & O'Connor, P.C.    Dividend paid 100.00% on $1,163.96, Attorney        6220-170                                    1,163.96     105,820.22
                                                             for D-I-P Expenses (Chapter 11); Reference:
02/26/20     20116       Hendel, Collins & O'Connor, P.C.    Dividend paid 100.00% on $61,606.29,                6210-000                                   61,606.29         44,213.93
                                                             Attorney for Trustee/D-I-P Fees (Other Firm)
                                                             (Chapter 11); Reference:
02/26/20     20117       Michael Lussier                     Dividend paid 100.00% on $2,130.00,                 6410-000                                    2,130.00         42,083.93
                                                             Accountant for Trustee/D-I-P Fees (Other Firm)
                                                             (Chapter 11); Reference:
02/26/20     20118       Herb Holding Trucking, Inc.         Dividend paid 3.57% on $104,024.40; Claim#          7100-000                                    3,715.38         38,368.55
                                                             1; Filed: $104,024.40; Reference:
02/26/20     20119       TD Bank N.A.                        Dividend paid 3.57% on $92,372.30; Claim#           7100-000                                    3,299.21         35,069.34
                                                             3; Filed: $142,372.30; Reference:
02/26/20     20120       ATC Group Services, Inc. d/b/a AC   Dividend paid 3.57% on $54,382.44; Claim#           7100-000                                    1,942.35         33,126.99
                         Associates, Inc.                    6; Filed: $54,382.44; Reference:
02/26/20     20121       Martin B. Burke, Esq.               Dividend paid 3.57% on $1,121.25; Claim# 7;         7100-000                                        40.05        33,086.94
                                                             Filed: $1,121.25; Reference:
02/26/20     20122       Kahan Kerensky & Capossela, LLP     Dividend paid 3.57% on $42,241.92; Claim# 8 7100-000                                            1,508.73         31,578.21
                                                             -2; Filed: $42,241.92; Reference:
02/26/20     20123       Richard Pisarski                    Dividend paid 3.57% on $107,645.16; Claim#          7100-000                                    3,844.70         27,733.51
                                                             9U-2; Filed: $120,645.16; Reference:
02/26/20     20124       Transportation Alliance Bank        Dividend paid 3.57% on $692,139.60; Claim#          7100-000                                   24,720.76             3,012.75
                                                             10U-2; Filed: $685,658.03; Reference:
02/26/20     20125       McClure Engineering                 Dividend paid 3.57% on $57,267.99; Claim#           7100-000                                    2,045.41              967.34
                                                             11; Filed: $57,267.99; Reference:
02/26/20     20126       Towne Engineering, Inc.             Dividend paid 3.57% on $27,083.85; Claim#           7100-000                                       967.34                0.00
                                                             13; Filed: $27,083.85; Reference:

                                                                                  ACCOUNT TOTALS                                     335,599.04            335,599.04               $0.00
                                                                                            Less: Bank Transfers                      53,134.34             18,461.79
                                                                                  Subtotal                                           282,464.70            317,137.25
                                                                                            Less: Payments to Debtors                                             0.00
                                                                                  NET Receipts / Disbursements                     $282,464.70         $317,137.25




{} Asset reference(s)                                                                                                                          Printed: 04/01/2020 11:48 AM        V.14.66
                        Case 14-30687                Doc 311    Filed 04/09/20 Entered 04/09/20 12:44:28                                              Desc Main
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                                               Cash Receipts And Disbursements Record
Case Number:        14-30687                                                                Trustee:            Steven Weiss (410011)
Case Name:          NEW ENGLAND LAND AND LUMBER CORPORA                                     Bank Name:          Mechanics Bank
                                                                                            Account:            ******3068 - Deposit on Real Estate
Taxpayer ID #: **-***5164                                                                   Blanket Bond:       $7,000,000.00 (per case limit)
Period Ending: 04/01/20                                                                     Separate Bond: N/A

   1            2                       3                                    4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                   Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From             Description of Transaction              T-Code              $                  $       Account Balance

                             Net Receipts :      511,569.72
                   Plus Gross Adjustments :       12,535.30                                                                    Net             Net                  Account
        Less Other Noncompensable Items :         10,000.00                TOTAL - ALL ACCOUNTS                              Receipts     Disbursements             Balances
                                              ————————
                               Net Estate :     $514,105.02                Checking # ******3066                           229,105.02            194,375.28                0.00
                                                                           Checking # ******3067                                 0.00                 57.19                0.00
                                                                           Checking # ******3068                           282,464.70            317,137.25                0.00

                                                                                                                         $511,569.72         $511,569.72                  $0.00




{} Asset reference(s)                                                                                                                Printed: 04/01/2020 11:48 AM        V.14.66
